                        UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION

                                 No. 5:18-cr-00457-D-3
                                  No. 5:20-cv-00695-D

                                         )
·JOSHUA DAVIS,                           )
                                         )
       Petitioner,                       )
                                         )
       v.                                )                 ORDER
                                         )
 UNITED STATES OF AMERICA,               )
                                         )
       Respondent.                       )
                                         )

      THIS MATTER IS BEFORE THE COURT on the United States' Motion to

Reinstate Petitioner's Judgment of Conviction. For- the reasons set forth in the

United States' Motion, the Motion is hereby GRANTED.

      IT IS HEREBY ORDERED that the criminal judgment is hereby reinstated as

of the day of entry of this Order.

      IT IS FURTHER ORDERED that Petitioner's motion pursuant to 28 U.S.C. §

2255 is hereby DISMISSED WITHOUT PREJUDICE.

      This the _q_ _ day of      Novo N ~        2021.




                                        United States District Judge




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